 Case 22-11068-JTD   Doc 28606-3   Filed 12/06/24   Page 1 of 8




              EXHIBIT C to
Claimant's Response to 129th Objection
              BTC Trace
        Case 22-11068-JTD   Doc 28606-3   Filed 12/06/24   Page 2 of 8




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Case 22-11068-JTD   Doc 28606-3   Filed 12/06/24   Page 3 of 8
Case 22-11068-JTD   Doc 28606-3   Filed 12/06/24   Page 4 of 8
Case 22-11068-JTD   Doc 28606-3   Filed 12/06/24   Page 5 of 8
Case 22-11068-JTD   Doc 28606-3   Filed 12/06/24   Page 6 of 8
Case 22-11068-JTD   Doc 28606-3   Filed 12/06/24   Page 7 of 8
Case 22-11068-JTD   Doc 28606-3   Filed 12/06/24   Page 8 of 8
